       Case 1:22-cv-00351-GSK         Document 79        Filed 08/14/24      Page 1 of 1




                UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE: THE HONORABLE GARY S. KATZMANN


 EREĞLI DEMIR VE ÇELIK FABRIKALARI T.A.Ş.

                        Plaintiff,
 v.

 UNITED STATES INTERNATIONAL TRADE
   COMMISSION,
                                                                       22-cv-00351
                        Defendant,

 and

 UNITED STATES STEEL CORPORATION et al.,

                        Defendant-intervenors.


                                     NOTICE OF APPEAL

       Notice is hereby given that Ereğli Demir ve Çelik Fabrikalari T.A.Ş. (Erdemir), Plaintiff

in the above-captioned case, hereby appeals to the United States Court of Appeals for the Federal

Circuit from the order entering judgment in this action dated June 20, 2024 (ECF No. 78) and

from the underlying slip opinion issued on June 20, 2024 (ECF No. 77).

                                          Respectfully submitted,

                                          /s/ David L. Simon
                                          David L. Simon, Esq.
                                          LAW OFFICES OF DAVID L. SIMON, PLLC
                                          1025 Connecticut Ave., N.W., Ste. 1000
                                          Washington, D.C. 20036
                                          Tel.: (202) 481-9000
                                          Email: DLSimon@DLSimon.com

Date: August 14, 2024                     Counsel to Erdemir
